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AO 442 (Rev. 11111) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                       for the

                                                               District of Columbia

                  United States of America
                                 v.                                      )   Case: 1 :21-mj-OO 3'65
                                                                         )   Assigned To : Faruqui, Zia M.
   Samuel Christopher Montoya (AKA: Unknown)                             )
                                                                             Assign. Date~ 4/812021
                                                                         )
                                                                             Description ~     COMPLAINT WI ARREST WARRANT
                                                                         )
                                                                         )
                              Defendant


                                                           ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)                                          Samuel Christopher Montoya
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment              0 Superseding Indictment              0 Information      0 Superseding Information                 N   Complaint
0 Probation Violation Petition               0 Supervised Release Violation Petition            OViolation Notice            0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C.     § 1752(a)(l) - Entering or Remaining in a Restricted Building;
 18 U.S.C.     § l 752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building;
 40 U.S.C.     § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct in a Capitol Building;
 40 U.S.C.     § 5104(e)(2)(E) - Impeding Passage Through the Capitol Grounds or Buildings;
 40 U.S.C.     § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building
                                                                  /SA t;,J<~               2021.04.08 21 :16:06
Date:          04/08/2021                                         ~ (/~:>                  -04'00'
                                                                                                 Issuing officer's signature


City and state:      ______          W~J:iipgton,   D.C.   .                     ZiaM'. f.~rµqµi,.J].~_M.~_gi§..t.1.:~!~_Judg~-- . . . . . . . . . . . ·--
                                                                                                    Printed name and title


                                                                       Return

          This warrant:"{"
at (city and state)   t::t.
                                 recei~ed on (date) 'Jj'i2);JfJ;J} .and the person was arrested on (dot<)
                               us,_,a, ]"")(                       .                                                          4-/13 J~o;ij
Date:     'i {13/CJOJ J                                                          ~t9!.!J
